    Case 2:09-cr-00130-PGS             Document 52     Filed 04/03/09     Page 1 of 2 PageID: 560




                              UNITEI) STATES 1)ISTRICT COI.RT
                             FOR THE 1)ISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA,
                                                                   No. O9-cr130 (PGS)


                                                                         ORI)ER

 DALNAVE NAVIGATION, INC..
 PANAGIOTIS STAMATAKIS, AN!)
 DIMITRIOS PAPADAKIS.



        This matter having come before the court on motions by the Defendants for a bill of

particulars. to declare the case complex. to grant a continuance, and to compel discovery: and on

a motion by the Government for reciprocal discovery: and the Court having reviewed the

papers. and having heard oral argument: and for the reasons set forth in the record. and ftr good

cause shown,

         IT IS on this 25 day of March, 2009.

         ORDERED that the Government shall, by March 31, 2009, provide the Defendants with

a bill of particulars delineating each overt act and naming each member of the conspiracy lbr

each count of the indictment, and it is further

        ORDERED that this matter shall be declared complex pursuant to 18 U.S.C.

3161(h)(7)(B)(ii): and it is further

        ORDEREI) that the ends ofjustice of this matter shall be continued through trial. The

trial shall commence on June 18, 2009: and it is further

        ORDERED that tmv additional continuance requested shall he done b\ way ul motion:
    Case 2:09-cr-00130-PGS            Document 52        Filed 04/03/09        Page 2 of 2 PageID: 561




and it is further

          ORDERED that the Government shall produce all (uiglio materials no later ihan March

3 1. 2009: and it is further

          ORDERED that the Government shall produce all documents necessary lbr the Rule 1 5

depositions in this matter no later than March 27. 2009: and it is further

          ORDERED that any Defendant shall produce any scientiflc evidence hich is intends to

use at trial no later than 30 days from the date of this order; and it is further

          ORDERED that the Government shall produce unredacted statements of

all witnesses in this matter for in camera inspection to the court as soon as possible; and it is

further

          ORDERED that the Government shall produce the report of the Coast Guard investigator

to the court for in camera inspection as soon as possible: and it is further

          ORDEREI) that the l)efendants shall produce any photographic evidence or witness

interview statements to be utilized at the Rule 1 5 depositions in this matter no later than March

31, 2009.



                                                         /c
                                                        PETER G. SHER1I)AN, U.S.D.J.
